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                                                                                     FILED
SEALED
                                                                                   July 21, 2021
                                                                              CLERK, U.S. DISTRICT COURT
                                                                              WESTERN DISTRICT OF TEXAS

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                                                                           BY: ________________________________
                                                                                                   DEPUTY
                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

UNITED STATES OF AMERICA,        §                 CASE NO.: SA-20-CR-00601-XR
                                 §
             Plaintiff,          §                 First Superseding Indictment
                                 §                 Ct 1: 8 U.S.C. § 1324(a)(1)(A)(ii) & (v)(I)
VS.                              §                 Conspiracy to Transport Illegal Aliens
                                 §                 Ct 2: 8 U.S.C. § 1324(a)(1)(A)(iii) & (v)(I)
JOSE MIGUEL SANDOVAL-PINEDA (1), §                 Conspiracy to Harbor Illegal Aliens
      aka “PRIMO”                §                 Ct 3: 18 U.S.C. § 1956(h)
      aka “CHAVALON”             §                 Conspiracy to Commit Money Laundering
EMMANUEL VALDOVINOS (2),         §                 Ct 4: 18 U.S.C. § 844(n)
      aka “MANNY"                §                 Conspiracy to Commit Arson
JORGE RODRIGUEZ (5),             §                 Ct 5: 18 U.S.C. §§ 844(i) & 2
EDUARDO ANGEL VIERA (6),         §                 Arson of a Building
      aka “LALO”                 §                 Ct 6: 18 U.S.C. §§ 844(h) & 2
JOSE EFRAIN OVALLE-ALVARADO (7),§                  Use of Fire or Explosives to Commit
JAVIER DUENAS (8),               §                 a Federal Felony
      aka “PUPPET”               §                 Cts 7-9: 26 U.S.C. § 5861(d)
JOSE CARLOS MARTINEZ (10),       §                 Possession of a Destructive Device
JAHANNATAN PACHECANO             §                 Cts 10-11: 18 U.S.C. § 922(g)(1)
ANDRADE (11), and                §                 Felon in Possession of a Firearm
SAMUEL LEE JONES (12),           §                 Cts 12-13: 18 U.S.C. § 922(o)
                                 §                 Illegal Possession of a Machine Gun
             Defendants.         §
                                 §

THE GRAND JURY CHARGES:

                                        COUNT ONE
                            [8 U.S.C. § 1324(a)(1)(A)(ii) & (v)(I)]

       That on or about January 2019, the exact date unknown, and continuing until on or about

January 17, 2020, in the Western District of Texas, Defendants,

      JOSE MIGUEL SANDOVAL-PINEDA aka “PRIMO” aka “CHAVALON” (1),
                EMMANUEL VALDOVINOS aka “MANNY” (2),
                         JORGE RODRIGUEZ (5),
                  EDUARDO ANGEL VIERA aka “LALO” (6),
                 JOSE EFRAIN OVALLE-ALVARADO (7), and
                    JAVIER DUENAS aka “PUPPET” (8),


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did knowingly combine, conspire, confederate and agree with others, known and unknown to the

Grand Jury, to commit the following offense against the United States: to transport and move, and

attempt to transport and move, by means of transportation or otherwise, aliens who entered and

remained in the United States in violation of law, knowing and in reckless disregard of the fact

that said aliens came to, entered, and remained in the United States in violation of law, and in

furtherance of such violation of law, in violation of Title 8, United States Code, Sections

1324(a)(1)(A)(ii) & (v)(I).

                                           COUNT TWO
                               [8 U.S.C. § 1324(a)(1)(A)(iii) & (v)(I)]

       That on or about January 2019, the exact date unknown, and continuing until on or about

January 17, 2020, in the Western District of Texas, Defendants,

      JOSE MIGUEL SANDOVAL-PINEDA aka “PRIMO” aka “CHAVALON” (1),
                EMMANUEL VALDOVINOS aka “MANNY” (2),
                         JORGE RODRIGUEZ (5),
                  EDUARDO ANGEL VIERA aka “LALO” (6),
                 JOSE EFRAIN OVALLE-ALVARADO (7), and
                    JAVIER DUENAS aka “PUPPET” (8),

did knowingly combine, conspire, confederate and agree with others, known and unknown to the

Grand Jury, to commit the following offense against the United States: to conceal, harbor, and

shield from detection aliens who entered and remained in the United States in violation of law,

knowing and in reckless disregard of the fact that said aliens came to, entered, and remained in the

United States in violation of law, in violation of Title 8, United States Code, Sections

1324(a)(1)(A)(iii) & (v)(I).

                                         COUNT THREE
                                       [18 U.S.C. § 1956(h)]

       That on or about January 2019, the exact date unknown, and continuing until on or about

January 17, 2020, in the Western District of Texas, Defendants,


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      JOSE MIGUEL SANDOVAL-PINEDA aka “PRIMO” aka “CHAVALON” (1),
                       JORGE RODRIGUEZ (5), and
                     EDUARDO VIERA aka “LALO” (6),

did knowingly combine, conspire, and agree with each other and with others, known and unknown

to the Grand Jury, to commit offenses against the United States in violation of Title 18, United

States Code, Section 1956, that is: to transport, transmit, and transfer, and attempt to transport,

transmit, and transfer a monetary instrument or funds involving the proceeds of specified unlawful

activity, that is, Conspiracy to Transport and Harbor Illegal Aliens, in violation of Title 8, United

States Code, Section 1324(a)(1)(A)(ii), (iii), & (v)(I), from a place in the United States to or

through a place outside the United States and to a place in the United States from or through a

place outside the United States, knowing that the funds involved in the transportation,

transmission, and transfer represented the proceeds of some form of unlawful activity and knowing

that such transportation, transmission, and transfer was designed in whole or in part to conceal and

disguise the nature, location, source, ownership, and control of the proceeds of the specified

unlawful activity, in violation of Title 18, United States Code, Section 1956(a)(2)(B)(i).

                                         COUNT FOUR
                                       [18 U.S.C. § 844(n)]

       That on or about September 2, 2019, in the Western District of Texas, Defendants,

      JOSE MIGUEL SANDOVAL-PINEDA aka “PRIMO” aka “CHAVALON” (1),
                EMMANUEL VALDOVINOS aka “MANNY” (2),
                    JAVIER DUENAS aka “PUPPET” (8),
                    JOSE CARLOS MARTINEZ (10), and
                JAHANNATAN PACHECANO ANDRADE (11),

did knowingly combine, conspire, and agree with each other and with others, known and unknown

to the Grand Jury, to commit offenses against the United States, that is, they conspired to

maliciously damage and attempted to damage and destroy, by means of fire and explosive

materials, a residence, located on the 800 block of Brownleaf Street, San Antonio, Texas and used


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in interstate commerce, in violation of Title 18, United States Code, Section 844(i), all in violation

of Title 18, United States Code, Section 844(n).

                                         COUNT FIVE
                                    [18 U.S.C. §§ 844(i) & 2]

       That on or about September 2, 2019, in the Western District of Texas, Defendants,

                          JAVIER DUENAS aka “PUPPET” (8),
                          JOSE CARLOS MARTINEZ (10), and
                       JAHANNATAN PACHECANO ANDRADE (11),

aided and abetted by each other, maliciously damaged and attempted to damage and destroy, by

means of fire and explosive materials, a residence, located on the 800 block of Brownleaf Street,

San Antonio, Texas and used in interstate commerce, in violation of Title 18, United States Code,

Sections 844(i) & 2.

                                          COUNT SIX
                                    [18 U.S.C. §§ 844(h) & 2]

       That on or about September 2, 2019, in the Western District of Texas, Defendants,

      JOSE MIGUEL SANDOVAL-PINEDA aka “PRIMO” aka “CHAVALON” (1),
                    JAVIER DUENAS aka “PUPPET” (8),
                    JOSE CARLOS MARTINEZ (10), and
                JAHANNATAN PACHECANO ANDRADE (11),

aided and abetted by each other, knowingly used fire and explosive materials to commit, and

unlawfully carried an explosive during the commission of, Conspiracy to Commit Arson of a

Building, a felony prosecutable in a court of the United States, in violation of Title 18, United

States Code, Sections 844(h) & 2.

                                        COUNT SEVEN
                                      [26 U.S.C. § 5861(d)]

       That on or about September 2, 2019, in the Western District of Texas, Defendant,

                             JAVIER DUENAS aka “PUPPET” (8),



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knowingly possessed a destructive device, that is, a Molotov cocktail, that was not registered to

him in the National Firearms Registration and Transfer Record, in violation of Title 26, United

States Code, Section 5861(d).

                                      COUNT EIGHT
                                    [26 U.S.C. § 5861(d)]

       That on or about September 2, 2019, in the Western District of Texas, Defendant,

                                JOSE CARLOS MARTINEZ (10),

knowingly possessed a destructive device, that is, a Molotov cocktail, that was not registered to

him in the National Firearms Registration and Transfer Record, in violation of Title 26, United

States Code, Section 5861(d).

                                       COUNT NINE
                                    [26 U.S.C. § 5861(d)]

       That on or about September 2, 2019, in the Western District of Texas, Defendant,

                      JAHANNATAN PACHECANO ANDRADE (11),

knowingly possessed a destructive device, that is, a Molotov cocktail, that was not registered to

him in the National Firearms Registration and Transfer Record, in violation of Title 26, United

States Code, Section 5861(d).

                                         COUNT TEN
                                    [18 U.S.C. § 922(g)(1)]

       That on or about June 19, 2019 and December 8, 2019, in the Western District of Texas,

Defendant,

                     EMMANUEL VALDOVINOS aka “MANNY” (2),

knowing he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed a firearm, to wit: a Beretta, model 3032 Tomcat, .32

caliber handgun, DAA447866, and said firearm had been shipped and transported in interstate and


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foreign commerce, in violation of Title 18, United States Code, Section 922(g)(1).

                                        COUNT ELEVEN
                                      [18 U.S.C. § 922(g)(1)]

          That on or about December 23, 2019, in the Western District of Texas, Defendant,

                        EMMANUEL VALDOVINOS aka “MANNY” (2),

knowing he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed a firearm, to wit: a Glock, model 21, .45 caliber pistol,

serial number EWD992, and said firearm had been shipped and transported in interstate and

foreign commerce, in violation of Title 18, United States Code, Section 922(g)(1).

                                         COUNT TWELVE
                                        [18 U.S.C. § 922(o)]

          That on or about June 18, 2019, in the Western District of Texas, Defendant,

                           JOSE EFRAIN OVALLE-ALVARADO (7),

knowingly possessed a machinegun, that is, a Glock, model 17, 9mm pistol, equipped with a

conversion device that made it capable of firing automatically more than one shot, without manual

reloading, by a single function of the trigger, in violation of Title 18, United States Code, Section

922(o).

                                       COUNT THIRTEEN
                                       [18 U.S.C. § 922(o)]

          That on or about June 18, 2019, in the Western District of Texas, Defendant,

                                   SAMUEL LEE JONES (12),

knowingly possessed a machinegun, that is, a Glock, model 17, 9mm pistol, equipped with a

conversion device that made it capable of firing automatically more than one shot, without manual

reloading, by a single function of the trigger, in violation of Title 18, United States Code, Section

922(o).


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    NOTICE OF UNITED STATES OF AMERICA’S DEMAND FOR FORFEITURE
                        [See Fed. R. Crim. P. 32.2]

                                                  I.
                     Alien Smuggling Violations and Forfeiture Statutes
 [Title 8 U.S.C. §§ 1324 (a)(1)(A)(ii),(iii) & (v)(I) subject to forfeiture pursuant to Title 18
 U.S.C. ' 982(a)(6), and Title 8 U.S.C. § 1324(b), made applicable to criminal forfeiture by
                                    Title 28 U.S.C. § 2461.

       As a result of the foregoing criminal violations set forth in Counts One and Two, the United

States of America gives notice to Defendants of its intent to seek the forfeiture of certain properties

upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 982(a)(6) and Title 8

U.S.C. § 1324(b), made applicable to criminal forfeiture by Title 28 U.S.C. § 2461, which state:

       Title 18 U.S.C. § 982. Criminal forfeiture
       (a)(6)(A) The court, in imposing sentence on a person convicted of a violation of, or
       conspiracy to violate, . . . the Immigration and Nationality Act . . . shall order that the
       person forfeit to the United States, regardless of any provision of State law -
               (i) any conveyance, including any vessel, vehicle, or aircraft used in the
               commission of the offense of which the person is convicted; and
               (ii) any property real or personal –
                       (I) that constitutes, or is derived from or is traceable to the proceeds
                       obtained directly or indirectly from the commission of the offense
                       of which the person is convicted; or
                       (II) that is used to facilitate, or is intended to be used to facilitate,
                       the commission of the offense of which the person is convicted.

       Title 8 U.S.C. § 1324(b) Seizure and forfeiture
               (1) In general
               Any conveyance, including any vessel, vehicle, or aircraft that has been or
               is being used in the commission of a violation of subsection (a) of this
               section, the gross proceeds of such violation, and any property traceable to
               such conveyance or proceeds, shall be seized and subject to forfeiture.

                                              II.
                        Firearms Violations and Forfeiture Statutes
[Title 18 U.S.C. § 922(g)(1), (o), subject to forfeiture pursuant to Title 18 U.S.C. § 924(d)(1),
              made applicable to criminal forfeiture by Title 28 U.S.C. § 2461]

       As a result of the criminal violation set forth in Counts Ten through Thirteen, the United

States of America gives notice to Defendants of its intent to seek the forfeiture of the properties


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described below upon conviction pursuant to FED. R. CRIM. P. 32.2 and Title 18 U.S.C. § 924, as

made applicable to criminal forfeiture by 28 U.S.C. § 2461. Section 924 states in pertinent part:

       Title 18 U.S.C. § 924. Penalties

                (d)(1) Any firearm or ammunition involved in or used in any knowing
               violation of subsection . . . (g) . . .(o)…. of section 922, . . . shall be subject
               to seizure and forfeiture . . . under the provisions of this chapter. . . .

                                               III.
                 Unregistered Possession Violations and Forfeiture Statutes
[Title 26 U.S.C. § 5861(d), subject for forfeiture pursuant to Title 26 U.S.C. § 5872(a), made
                applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c)]

       As a result of the criminal violations set forth in Counts Seven through Nine, the United

States of America gives notice to the Defendants of its intent to seek the forfeiture of properties,

including the items listed below, upon conviction and as part of sentencing, pursuant to FED. R.

CRIM. P. 32.2 and Title 18 U.S.C. § 924(d)(1), made applicable to criminal forfeiture by Title 28

U.S.C. § 2461(c), which states the following:

       Title 26 U.S.C. § 5872. Forfeiture
               (a) Laws applicable ―Any firearm involved in any violation of the
               provisions of this chapter shall be subject to seizure and forfeiture . . . .

                                              IV.
                    Money Laundering Violations and Forfeiture Statutes
                  [Title 18 U.S.C. § 1956(a)(2)(A) & (h) subject to forfeiture
                            pursuant to Title 18 U.S.C. § 982(a)(1)]

       As a result of the foregoing criminal violations set forth in Count Three, the United States

of America gives notice to Defendants of its intent to seek the forfeiture of the properties

described below upon conviction pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. §

982(a)(1), which states:

       Title 18 U.S.C. § 982. Criminal forfeiture
           (a)(1) The court, in imposing sentence on a person convicted of an offense in
           violation of section 1956. . . of this title, shall order that the person forfeit to the



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           United States any property, real or personal, involved in such offense, or any
           property traceable to such property.

                                              V.
                             Arson and Forfeiture Statutes
      [Title 18 U.S.C. § 844(n),(i),(h), subject for forfeiture pursuant to Title 18 U.S.C.
      § 981(a)(1)(C), made applicable to criminal forfeiture by Title 28 U.S.C. § 2461]

       As a result of the criminal violation set forth in Counts Four through Six, the United States

of America gives notice to Defendants of its intent to seek the forfeiture of the properties described

below upon conviction pursuant to FED. R. CRIM. P. 32.2 and Title 18 U.S.C. § 844(c) and Title

18 U.S.C. § 981(a)(1)(c), as made applicable to criminal forfeiture by 28 U.S.C. § 2461.

Section 844 states in pertinent part:

       Title 18 U.S.C. § Penalties

               (c) Any explosive materials involved or used or intended to be used in any violation
               of the provisions of this chapter or any other rule or regulation promulgated
               thereunder or any violation of any criminal law of the United States shall be subject
               to seizure and forfeiture, and all provisions of the Internal Revenue Code of 1986
               relating to the seizure, forfeiture, and disposition of firearms, as defined in section
               5845(a) of that Code, shall, so far as applicable, extend to seizures and forfeitures
               under the provisions of this chapter

Section 981 states in pertinent part:

       Title 18 U.S.C. § 981 Forfeiture
               (a)(1)(C) Any Property, real or personal, which constitutes or is derived from
               proceeds traceable to a violation of section…844…or any offense constituting
               “specified unlawful activity” …or a conspiracy to commit such offense.

                                              VI.
                                         Money Judgment

       Money Judgment: A sum of money which represents the value of any proceeds
       obtained directly or indirectly as a result of the violations set forth in Counts 1-6,
       for which each Defendants is liable.

                                               VII.
                                         Substitute Assets

       If any of the property described above as being subject to forfeiture for the violations set


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